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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)   BROWN RUDNICK LLP
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                                                              Chapter 11

 In re:                                                       Case No.: 23-12825 (MBK)

 LTL MANAGEMENT LLC,1                                         Honorable Michael B. Kaplan

                                    Debtor.



 LTL MANAGEMENT LLC,                                           Adv. Pro. No. 23-01092 (MBK)
                                    Plaintiff,

           v.


 THOSE PARTIES LISTED ON
 APPENDIX A TO COMPLAINT
 and JOHN AND JANE
 DOES 1-1000,

                                    Defendants.



                   NOTICE OF APPEAL AND STATEMENT OF ELECTION



          Part 1: Identify the Appellant(s):

          1. Names(s) of appellant(s): The Official Committee of Talc Claimants.

          2. Position of appellant(s) in the bankruptcy case that is the subject of this appeal:

Appellant is an official committee of tort claimants in the underlying bankruptcy case. Appellant

is also an intervenor in Adversary Case No. 23-01092 (MBK).




1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
  Street, New Brunswick, New Jersey 08933.



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       Part 2: Identify the subject of this appeal:

       1. Describe the judgment, order, or decree appealed from: Appellant, pursuant to 28

U.S.C. § 158(a) and Federal Rules of Bankruptcy Procedure 8001(a), hereby gives notice of appeal

to the United States District Court for the District of New Jersey from each and every part of the

order of the United States Bankruptcy Court for the District of New Jersey of as follows:

       (a) the Order of April 20, 2023 granting in part the relief sought by Debtor’s Motion For

An Order (I) Declaring That The Automatic Stay Applies Or Extends To Certain Actions Against

Non-Debtors, (II) Preliminarily Enjoining Such Actions, And (III) Granting A Temporary

Restraining Order Ex Parte Pending A Hearing On A Preliminary Injunction (annexed hereto, as

Exhibit “A,” is a copy of the Transcript of the United States Bankruptcy Court’s ruling read into

the record on April 20, 2023 (Adversary Case No. 23-01092 (MBK))), and

       (b) the Order of the same date granting a preliminary injunction prohibiting the

commencement or continuation of any trial against any of the protected parties identified in

Appendix B to the verified complaint in Adversary Case No. 23-01092 (MBK), as amended,

through and including June 15, 2023 (see Exhibit “A” annexed hereto).

       (c) the Bench Order of the Court of the same date (see Exhibit “A” annexed hereto).

       2. State the date on which the judgment, order, or decree was entered: The Bench

Order (see Exhibit “A” annexed hereto) was issued on April 20, 2023.

       Part 3: Identify the other parties to the appeal:

       List the names of all parties to the judgment, order, or decree appealed from and the names,

       addresses, and telephone numbers of their attorneys:




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 Appellee - Plaintiff: LTL Management,     WOLLMUTH MAHER & DEUTSCH LLP
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 Defendants (See Exhibit B)                See Exhibit B


 Interested party: the Protected Parties   (see Exhibit C)
 (see Exhibit C)




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 Interested party/objector: Arnold &    PACHULSKI STANG ZIEHL & JONES LLP
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 Interested party/objector: Paul Crouch,   LEVY KONIGSBERG, LLP
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 Interested party/objector: Travelers       GIMIGLIANO MAURIELLO & MALONEY
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 The Aetna Casualty and Surety              Stephen V. Gimigliano
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 Interested party/objector: United States   THE OFFICE OF THE UNITED STATES
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 Interested party/objector:                 MAUNE RAICHLE HARTLEY FRENCH &
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Part 4: Not Applicable (No BAP in this District)

Part 5: Signature

 DATED this 21st day of April 2023.
                                                 Respectfully submitted,

                                                 GENOVA BURNS, LLC



                                                 By:      /s/ Daniel M. Stolz
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